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 1
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 5
     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
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 8                      IN THE UNITED STATES DISTRICT COURT

 9                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
      ROTHSCHILD BROADCAST                           CASE NO.: 3:20-cv-07356-SK
12
      DISTRIBUTION SYSTEMS, LLC,
13
                          Plaintiff,                 NOTICE OF VOLUNTARY
14                                                   DISMISSAL
      v.
15

16
      TALKDESK, INC.,                                JURY TRIAL DEMANDED

17                        Defendant.
18

19

20

21
             Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this

22   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
23
     Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be
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25
     dismissed by the plaintiff without order of court by filing a notice of dismissal at

26   any time before service by the adverse party of an answer. Accordingly, Rothschild
27
     Broadcast Distribution Systems, LLC hereby voluntarily dismisses this action
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     against Talkdesk, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

 2   party to bear its own fees and costs.
 3

 4
     Dated: December 9, 2020                 Respectfully submitted,

 5                                           /s/Stephen Lobbin
 6                                           Stephen M. Lobbin
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11                                           Broadcast Distribution Systems, LLC
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